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                             UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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  10    TAEK YOON,                                 Case No. CV 11-6792-VAP (KK)
  11                              Plaintiff,
  12                        v.                     JUDGMENT
  13    LEE, ET AL.,
  14                              Defendant(s).
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  17         Pursuant to the Order Accepting Final Findings and Recommendation of
  18   United States Magistrate Judge,
  19         IT IS HEREBY ADJUDGED that this action is dismissed with prejudice.
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  21   Dated: September 18, 2020
  22
                                               HONORABLE VIRGINIA A. PHILLIPS
  23                                           United States District Judge
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